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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 CBV, INC.,                                       )
                                                  )
                 Plaintiff,                       )
                                                  )
                 v.                               ) C.A. No. 21-1456-MN
                                                  )
 CHANBOND, LLC,                                   )
                                                  )
                  Defendant/Crossclaim            )
                  Defendant,                      )
                                                  )
 DEIRDRE LEANE, and IPNAV, LLC                    )
                                                  )
                  Defendants/Counterclaim         )
                  Plaintiffs/Crossclaim           )
                  Plaintiffs.                     )


                              REQUEST FOR ORAL ARGUMENT

        Pursuant to D. Del. L.R. 7.1.4, Defendant ChanBond, LLC respectfully requests oral

argument on Plaintiff CBV, Inc.’s Motion for Temporary Restraining Order, Preliminary

Injunction, and for Expedited Discovery (D.I. 18), as briefing on the motions is now complete.

(See, e.g., D.I. 19, 48, 54, 65.)




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Dated: April 12, 2022                 Respectfully submitted,

                                      BAYARD, P.A.

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